        Case 9:20-cv-00082-DWM Document 1 Filed 06/09/20 Page 1 of 7



JAMES A. PATTEN (ID No. 1191)
DANIEL SNEDIGAR (ID No. 9428)
PATTEN, PETERMAN, BEKKEDAHL & GREEN, P.L.L.C.
2817 Second Ave. North, Suite 300
Billings, MT 59101
Telephone (406) 252-8500
Fax (406) 294-9500
Email: apatten@ppbglaw.com
         dsnedigar@ppbglaw.com

Attorneys for Defendants



                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

STEVE NELSON, MICHAEL                    )
BOEHM and BONNER PROPRETY                )
DEVELOPMENT, LLC,                        ) Cause No.
                                         )
               Plaintiffs,               )
                                         )
vs.                                      )
                                         ) NOTICE OF REMOVAL
PROJECT SPOKANE, LLC,                    )
and SEAN WALSH                           )
                                         )
               Defendants.               )
_________________________________________)

       NOTICE TO THE CLERK OF COURT AND PLAINTIFFS STEVE

NELSON, MICHAEL BOEHM and BONNER PROPERTY MANAGEMENT,

LLC:




                                     1
           Case 9:20-cv-00082-DWM Document 1 Filed 06/09/20 Page 2 of 7



      Please take notice that Defendants, Project Spokane, LLC and Sean Walsh,

by and through their counsel, hereby remove to this Court the action originally

filed in the Montana Fourth Judicial District Court, Missoula County, Montana,

case no. DV-32-2020-604. The grounds for this removal are set forth herein.

                             STATE COURT ACTION

      1.       On June 1, 2020, Plaintiffs, Steve Nelson, Michael Boehme, and

Bonner Property Development, LLC (collectively referred to as “BPD”) filed their

First Amended Complaint (“FAC”) and Demand for Jury Trial. In the FAC, BPD

alleges that BPD seeks a judgment: (i) enjoining a public sale of personal property

consisting of Bitcoin mining equipment, fixtures, and other assets; (ii) ordering

specific performance of a promise to provide a first priority lien position for BPD’s

security interest in the property; and (iii) imposing a constructive trust on the

property. FAC ¶ 1. BPD further alleges that the property consists of “millions of

dollars-worth of computer hardware used in a large Bitcoin mining operation . .

.” FAC ¶ 13.

      2.       The Defendants have informally received a copy of the FAC from

BPD. A true and correct copy of the FAC is attached as Exhibit A. A true and

correct copy of the (i) initial Complaint and Demand for Jury Trial, (ii) Motion for

Temporary Restraining Order, (iii) Notice of Montana Uniform District Court Rule

3 Compliance, (iv) Brief in Support of Motion for Temporary Restraining Order,


                                           2
           Case 9:20-cv-00082-DWM Document 1 Filed 06/09/20 Page 3 of 7



(v) Temporary Restraining Order; (vi) Declaration of Stephen Nelson and Exhibits

to Nelson Declaration, (vii) Summons Issued on Project Spokane, (viii) Summons

Issued on Sean Walsh, and (ix) Notice of Service of Temporary Restraining Order

and order to Appear and Show Cause are attached as Exhibits B, C, D, E, F, G, H, I

and J. The attached exhibits constitute the current docket in DV-32-2020-604.

      3.       Pursuant to 28 U.S.C. § 1446(a) these documents comprise all of the

“process, pleadings, and orders served” in the state court action with respect to this

case. A complete copy of all pleadings and orders issued by the Montana District

Court, if any, will be separately filed.

      4.      This notice of removal is timely pursuant to 28 U.S.C. § 1446(b)

because it is filed within thirty days after Project Spokane, LLC and Sean Walsh

were served with the Summons and Complaint.

                           DIVERSITY JURISDICTION

      5.       This Court has jurisdiction over this case because the parties are of

complete diverse citizenship.

      6.       As of the commencement of this case, the Plaintiffs Steve Nelson and

Michael Boehme were citizens of Montana (FAC ¶¶ 3 and 4); both are the

members of Plaintiff Bonner Property Development, LLC. FAC ¶¶ 3 and 4.

      7.       Defendant Project Spokane is a Colorado limited liability company

with its principal place of business in Colorado. (FAC ¶ 5). Defendant Sean Walsh


                                            3
           Case 9:20-cv-00082-DWM Document 1 Filed 06/09/20 Page 4 of 7



is the only member of Project Spokane, LLC and is a citizen of the Commonweath

of Puerto Rico.

      8.       A limited liability company is deemed to be a citizen of those states

in which its members are citizens. Johnson v. Columbia Props. Anchorage, LP,

437 F.3d 894, 899 (9th Cir. 2006); Evan & Vertin, LLC v. Canyon Holdings, LLC,

2011 U.S. Dist. LEXIS 929 (D. Mont. 2011). Accordingly, the Plaintiff Bonner

Property Development, LLC is a citizen of the state of Montana and the Defendant

Project Spokane, LLC is a citizen of the Commonwealth of Puerto Rico.

      9.       Therefore, pursuant to 28 U.S.C. § 1332(a)(1) the Defendants are

citizens of the commonwealth of Puerto Rico and the Plaintiffs are citizens of the

tate of Montana. Diversity jurisdiction under 28 U.S.C. § 1332(a)(1) and (e)

exists. Cloud I Q LLC v. RADAR Apps, Inc., 2020 Bankr. LEXIS 1346, *20 – 21,

(Bankr. E.D. Wisc.); Santiago v. Hosp. Cayetano Colly Toste, 260 F. Supp 2d 373,

378 (D.C. P.R., 2003).

      10.      The amount in controversy exceeds $75,000.00. The Relief sought

concerns the rights to “millions of dollars-worth of computer hardware . . .”

(the “Property”). FAC ¶ 13. BDP asserts six causes of action sounding in fraud,

unjust enrichment, promissory estoppel, equitable estoppel, a declaratory judgment

that BDP holds a superior interest in the Property to that of Defendants, and

specific performance. All of BDP’s causes of action relate to the parties’


                                           4
        Case 9:20-cv-00082-DWM Document 1 Filed 06/09/20 Page 5 of 7



respective rights to the Property. Specifically, BPD seeks relief in the form of a

judgment awarding damages, imposing a constructive trust on the Property, and

enjoining the Defendants from disposition of the Property.

                                      VENUE
      11.    Pursuant to 28 U.S.C. §§ 1441(a) and 1446(a) and Local Rules 1.2(c)

and 3.2(b), the civil action between these parties, Case No. DV-32-2020-604-OC

in Montana Fourth Judicial District, Missoula County, Montana, is properly

venued in the United States District Court for the District of Montana, Missoula

Division.

                      STATE COURT TO BE NOTIFIED

      12.    In accordance with 28 U.S.C. § 1446(d), copies of this Notice of

Removal will be served upon BPD’s counsel and filed with the Montana Fourth

Judicial District Court, Missoula County.

                                  CONCLUSION

      WHEREFORE, the foregoing, Defendants, Project Spokane, LLC and Sean

Walsh, respectfully remove this action from the Montana Fourth Judicial District

Court, Missoula County to this Court for further proceedings.




                                          5
  Case 9:20-cv-00082-DWM Document 1 Filed 06/09/20 Page 6 of 7



Dated this 9th day of June, 2020.



                          James A. Patten
                          PATTEN, PETERMAN, BEKKEDAHL
                                 & GREEN
                          2817 Second Ave. North, Suite 300
                          P.O. Box 1239
                          Billings, Montana 59103



                          By:    /s/JA Patten
                                JAMES A. PATTEN
                                Attorneys for Defendants




                                    6
           Case 9:20-cv-00082-DWM Document 1 Filed 06/09/20 Page 7 of 7




                           CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of June, 2020, a true and correct copy of
the foregoing Notice of Removal was served on the following persons by the
following means:

      1              CM/ECF
      _______        Hand delivery
      2              Mail
      _______        Overnight Delivery Service
      _______        Fax
      3              E-mail

      1.       Clerk, U.S. District Court

      2.       Quentin M Rhoades
               Robert Erickson
               Rhoades, Siefert & Erickson PLLC
               430 Ryman Street
               Missoula, MT 59802
               qmr@montanalawyer.com
               erickson@montanalawyer.com


                     /s/ JA Patten
                     for PATTEN, PETERMAN, BEKKEDAHL & GREEN




                                            7
